      Case 2:03-cr-00257-CJB          Document 1343        Filed 01/22/09      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                               NO. 03-257

MICHAEL HARRIS                                                                SECTION: “K”(1)




                                            ORDER

       Defendant Michael Harris has submitted his Second Motion for Reconsideration (Rec.

Doc. 1336), in which he asserts that this Court should modify its prior Order (Rec. Doc. 1259)

denying a reduction in sentence due the amendments to the Sentencing Guidelines for crack

cocaine. Defendant filed his first motion for reconsideration (Rec. Doc. 1323) on December 3,

2008, a motion that was denied by this Court (Rec. Doc. 1324). Defendant asserts that the result

of his appeal modifies this Court’s evaluation of his eligibility. However, the U.S. Court of

Appeals for the Fifth Circuit affirmed his conviction on January 14, 2009 (Rec. Doc. 1340).

Therefore, no facts have changed since Defendant’s last motion for reconsideration.

       The Court is aware that Defendant believes he is still entitled to a sentencing reduction

because he claims the statutory minimum does not apply to him. He asserts that, because he

accepted the Rule 11(c)(1)(C) stipulated sentence, he is not subject to the statutory minimum.




                                                1
      Case 2:03-cr-00257-CJB          Document 1343         Filed 01/22/09      Page 2 of 3




Defendant misunderstands the transcript of his rearraignment hearing.1 The Court did not

instruct Mr. Harris that the sentencing agreement would free him from the mandatory minimum

sentence; instead, Mr. Harris was instructed that, if he decided not to accept the Rule 11(c)(1)(C)

stipulated sentence, he would face at least 120 months in prison.

       Moreover, Defendant must keep in mind that, because he accepted the Rule 11(c)(1)(C)

stipulated sentence, he is not entitled to any reduction in sentence due to the crack cocaine

amendments. Coordinate federal courts of this Court have held that district courts lack the

power to modify Rule 11(c)(1)(C) sentences under the amendments to the crack cocaine

guidelines because, once a court accepts a Rule 11(c)(1)(C) plea, the agreement “binds the court

once the court accepts the plea agreement.” See United States v. Oliver, --- F. Supp. 2d ----,

2008 WL 5209983, at *2 (D.D.C. 2008) (citing cases holding that federal courts cannot modify

Rule 11(c)(1)(C) sentences under the crack cocaine amendments). If Defendant were entitled to

such a reduction, the lowest sentence he could receive due to his modified range is 121 months.

Currently, Mr. Harris has a sentence of 120 months. Therefore, legally this Court is not bound to

modify Defendant’s sentence, and in any case this Court is certain that Defendant would not

prefer an additional month of prison. This Court has reviewed the Defendant’s presentence

report and other relevant documents with care, and it has determined that any discretion the


       1
        Mr. Harris refers to the following instruction by the Court during his rearraignment.
Note that Rule 11(c)(1)(C) was formerly Rule 11(e)(1)(C):

THE COURT: And remember, of course - - I’m reminding you that you have a minimum
statutory sentence of 10 years in the event that you don’t go with the 11(e)(1)(c) plea, do you
understand that?

DEFENDANT HARRIS: Yes, sir.

                                                 2
      Case 2:03-cr-00257-CJB         Document 1343         Filed 01/22/09   Page 3 of 3




Court has in this matter shall not be exercised here. Accordingly,

       IT IS ORDERED that Defendant Michael Harris’ Second Motion for Reconsideration

(Rec. Doc. 1336) is DENIED.

.      New Orleans, Louisiana, this ________
                                      22nd day of January, 2009.


                                             _____________________________________
                                                   STANWOOD R. DUVAL, JR.
                                               UNITED STATES DISTRICT JUDGE




                                                3
